                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                       CRIMINAL DOCKET NO. 5:06CR1-1-RLV


UNITED STATES OF AMERICA         )
                                 )
            vs.                  )                               SCHEDULING ORDER
                                 )
QUENTIN DEMER WILLIS,            )
                                 )
           Defendant.            )
________________________________)


       THIS MATTER is before the Court on the Court’s Order, filed on September 24,

20131, ordering this matter for resentencing.

       IT IS, THEREFORE, ORDERED THAT:

       1)      This matter is hereby scheduled for re-sentencing on Tuesday,

               November 12, 2013, at 10:30 AM, in the United States Courthouse, 200

               West Broad Street, 2nd floor Courtroom, Statesville, North Carolina; and
       2)      A copy of this Order shall be sent to the Defendant, Defense Counsel,

               United States Attorney, United States Marshal Service, United States

               Probation Office.




1
 The Government filed a Motion For Reconsideration of the Court’s dismissal as untimely of Petitioner’s
Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C. § 2255, which this Court granted, case
5:12CV171.



                                                 Signed: September 25, 2013




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